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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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WILDA RIOS, Individually, and as Mother and Natural
Guardian of AMIR RIOS and MAJID RIOS,                                   SUGGESTION OF DEATH
                                                                        UPON THE RECORD OF
                                                  Plaintiffs,           PLAINTIFF
                                                                        WILDA RIOS PURSUANT TO
                              -against-                                 FRCP 25(a)

THE CITY OF NEW YORK and PRESENTLY                                      17 CV 2840 (LDH) (RER)
UNKNOWN POLICE OFFICERS OF THE NEW
YORK CITY POLICE DEPARTMENT,

                                                Defendants.

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                 PLEASE TAKE NOTICE that defendant City of New York, by its attorney,

Zachary W. Carter, Corporation Counsel of the City of New York, pursuant to Rule 25(a) of the

Federal Rules of Civil Procedure, respectfully submits, as follows:

                 On January 24, 2018, Assistant Corporation Counsel Zachary Russell Bergman,

counsel for defendant City, was informed of the death of plaintiff Wilda Rios by plaintiffs’

counsel, Michael Goldstein, Esq. Plaintiffs’ counsel did not indicate the date of Ms. Rios’s

death.

                         [REMAINDER OF PAGE LEFT INTENTIONALLY BLANK]
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               WHEREFORE, pursuant to Rule 25 of the Federal Rules of Civil Procedure,

defendant City suggests upon the record that Wilda Rios is deceased, and that any motion for

substitution of a proper party be timely made within ninety days of this date.

Dated: New York, New York
       January 24, 2018

                                                     ZACHARY W. CARTER
                                                     Corporation Counsel of the
                                                     City of New York
                                                     Attorney for Defendant City
                                                     100 Church Street
                                                     New York, New York 10007
                                                     (212) 356-5051

                                                                   /s/
                                                        Zachary Russell Bergman
                                                        Assistant Corporation Counsel


cc:    Michael Goldstein, Esq. (By ECF)
       Attorney for Plaintiffs




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